                            Case 18-11780-BLS              Doc 2      Filed 08/02/18        Page 1 of 47



                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

         In re:                                                         Chapter 11

         BROOKSTONE HOLDINGS CORP., et al.,1                            Case No. 18-_____ (___)

                                     Debtors.                           (Joint Administration Requested)


                     DECLARATION OF GREG TRIBOU IN SUPPORT OF THE DEBTORS’
                     CHAPTER 11 PETITIONS AND REQUESTS FOR FIRST DAY RELIEF

                   I, Greg Tribou, hereby declare under penalty of perjury, pursuant to section 1746 of title

         28 of the United States Code, as follows:

                   1.       I am the Vice President, Chief Financial Officer of Brookstone Company, Inc., a

         debtor and debtor in possession and the main operating company of the above-captioned debtors

         and debtors in possession (each, a “Debtor” and collectively, the “Debtors” or “Brookstone”).

         Prior to serving as the Chief Financial Officer, I served as the controller of Brookstone

         Company, Inc. since December 15, 2014. In these capacities, I am familiar with the Debtors’

         business, financial affairs, and day-to-day operations.

                   2.       On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

         petition for relief (the “Petitions”) under chapter 11 of title 11 of the United States Code, 11

         U.S.C. §§ 101-1532 (the “Bankruptcy Code”) with the United States Bankruptcy Court for the

         District of Delaware (the “Court”).




         1
             The Debtors, along with the last four digits of each Debtor’s tax identification number, are: Brookstone Holdings
             Corp. (4638), Brookstone, Inc. (2895), Brookstone Company, Inc. (3478), Brookstone Retail Puerto Rico, Inc.
             (5552), Brookstone International Holdings, Inc. (8382), Brookstone Purchasing, Inc. (2514), Brookstone Stores,
             Inc. (2513), Big Blue Audio LLC (N/A), Brookstone Holdings, Inc. (2515); and, Brookstone Properties, Inc.
             (2517). The Debtors’ corporate headquarters and the mailing address for each Debtor is One Innovation Way,
             Merrimack, NH 03054.


01:23475998.1
                        Case 18-11780-BLS          Doc 2       Filed 08/02/18   Page 2 of 47



                3.      I submit this declaration (this “First Day Declaration”), pursuant to Rule 1007 of

         the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to provide an overview of

         the Debtors’ business and these chapter 11 cases (the “Chapter 11 Cases”) and to support the

         Debtors’ applications and motions for “first day” relief (collectively, the “First Day Motions”).

         Except as otherwise indicated herein, all facts set forth in this First Day Declaration are based

         upon my personal knowledge of the Debtors’ operations and finances, information learned from

         my review of relevant documents, information supplied to me by other members of the Debtors’

         management and the Debtors’ professional advisors, or my opinion based on my experience,

         knowledge, and information concerning the Debtors’ operations and financial condition. To the

         extent that any information provided herein is materially inaccurate, we will act promptly to

         notify the Court and other parties; however, I believe all information herein to be true to the best

         of my knowledge. I am authorized to submit this First Day Declaration on behalf of the Debtors

         and, if called upon to testify, I could and would testify competently to the facts set forth herein.

                                     I.      Overview of the Chapter 11 Cases

                4.      In addition to providing the factual support for the First Day Motions, the primary

         purpose of this First Day Declaration is to familiarize the Court with the Debtors, the Chapter 11

         Cases and the relief sought in the First Day Motions. This First Day Declaration is organized as

         follows: Part I provides an overview of the Chapter 11 Cases; Part II describes the Debtors’

         business operations; Part III describes the Debtors’ corporate structure; Part IV describes the

         Debtors’ capital structure; Part V describes the events leading up to the commencement of the

         Chapter 11 Cases; Part VI summarizes the overall restructuring goals the Debtors hope to

         achieve by commencing these Chapter 11 Cases; and Part VII sets forth my basis for testifying to

         the facts underlying and described in each of the First Day Motions.


01:23475998.1

                                                           2
                           Case 18-11780-BLS        Doc 2       Filed 08/02/18   Page 3 of 47



                5.         The Debtors continue to operate their businesses and manage their property as

         debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request

         for the appointment of a trustee or examiner has been made in these Chapter 11 Cases, and no

         committees have been appointed or designated. As set forth in Part VII, concurrently herewith,

         the Debtors have filed a motion seeking joint administration of the Chapter 11 Cases pursuant to

         Bankruptcy Rule 1015(b).

                6.         Through these Chapter 11 Cases, the Debtors intend to undertake a store closing

         and sale process that will allow the Debtors to shed burdensome lease agreements, right-size

         their inventory, and sell a streamlined and healthy business to a bidder that can operate under the

         Brookstone brand into perpetuity. To this end, the Debtors have entered into an agreement with

         Wells Fargo Bank, National Association (“Wells Fargo”) and Gordon Brothers Finance

         Company (“Gordon Brothers,” and together with Wells Fargo, in such capacity, the “DIP

         Lenders”) pursuant to which the DIP Lenders will provide the Debtors with up to $30 million in

         the form of a post-petition DIP Credit Facility (the “DIP Facility”) that will be secured by first

         priority priming liens on substantially all of the Debtors’ assets. The Debtors believe that the

         DIP Facility will provide the necessary flexibility to allow the Debtors to run a successful store

         closing and sale process, as well as to engage in an appropriate dialogue with their creditor

         constituencies.

                7.         The Debtors’ proposed path is designed to maximize the value of their businesses

         and assets and to provide the maximum recovery possible to the Debtors’ creditors. With a

         streamlined footprint and right-sized inventory, the Debtors will be poised to continue on as a

         profitable retail enterprise in the hands of the successful bidder at auction. In order to satisfy the

         case milestones set forth in the Debtors’ DIP Facility, as well as to prevent the deterioration in


01:23475998.1

                                                            3
                        Case 18-11780-BLS         Doc 2       Filed 08/02/18   Page 4 of 47



         value of Debtors’ businesses attendant to a lengthy sale process, the Debtors seek to consummate

         a sale of their businesses before the end of September 2018.

                                 II.     The Debtors’ Business and Operations

         A.     Overview of the Debtors’ Business

                8.      The Debtors are a product development company and multichannel retailer that

         offer a number of highly distinctive and uniquely designed products. The Brookstone brand is

         strongly associated with cutting-edge innovation, superior quality, and sleek and elegant design.

                9.      Brookstone began as a catalog company in the 1960s. The Brookstone brand was

         introduced through a classified ad in Popular Mechanics Magazine featuring “hard-to-find tools.”

         By the 1970s, Brookstone expanded its business operations, opening a retail store in

         Peterborough, New Hampshire. Today, the Debtors remain headquartered in nearby Merrimack,

         New Hampshire.

                10.     By the 1990s, Brookstone added internet sales and marketing through its website,

         www.brookstone.com. From there, Brookstone could offer thousands of products to its

         customers, including certain products that were not even available in stores. To this day,

         Brookstone remains a highly recognizable brand name, associated with new and innovative

         products, including uniquely designed and engineered products not found in typical retail stores.

                11.     As of the Petition Date, Brookstone operates 137 retail stores across 40 states and

         Puerto Rico. In addition, the Debtors operate one liquidation center in North Conway, New

         Hampshire. Of the 137 retail stores, 102 stores are located in malls and 35 stores are located at

         airports. Certain airport stores are operated as a joint venture between one of the Debtors and

         one or more third parties. These joint ventures are organized as limited liability companies.

         Mall stores vary in size from approximately 2,500 to 3,500 square feet and carry approximately


01:23475998.1

                                                          4
                        Case 18-11780-BLS         Doc 2       Filed 08/02/18   Page 5 of 47



         700 active stock keeping units (“SKUs”). Airport stores vary in size from approximately 75 to

         2,300 square feet and carry approximately 375 active SKUs. Prior to the Petition Date, the

         Debtors engaged in a number of customer related programs, including warranties, gift

         cards/certificates, private label credit cards and loyalty/reward point programs, all of which the

         Debtors are seeking authority to honor after the Petition Date.

                12.     For the fiscal year ended 2017, net sales for the Debtors were $264 million and

         adjusted EBITDA was booked at negative $60 million. For the first half of 2018, net sales were

         $74 million and adjusted EBITDA was booked at negative $29 million.

         B.     Product Categories

                13.     The Debtors manufacture and sell products in three core categories: (i) “wellness”

         which is focused on products that improve consumers’ health and well-being, such as massage

         and sleep improvement products, massage chairs, and exercise/fitness monitoring products, (ii)

         “entertainment” which is focused on audio, wine and barbeque, seasonal décor and toys, and (iii)

         “travel” which is focused on in-flight comfort (such as pillows), mobile solutions

         (chargers/headphones), and travel lifestyle products.

                14.     The key to the Debtors’ product offerings is Brookstone’s unique “Plus One”

         model, which is woven throughout all three product categories. Brookstone does not offer

         merely a weighted blanket (a product which helps relieve stress and enhances relaxation); rather,

         Brookstone offers a weighted blanket with Nap® fabric, a specially designed fabric that is softer

         than the weighted blankets offered by competitors. Similarly, Brookstone does not offer merely

         Bluetooth headphones, they offer lighted Bluetooth headphones that also feature lighted cat ears

         that double as additional external speakers and allow the user to control and change the light




01:23475998.1

                                                          5
                         Case 18-11780-BLS          Doc 2       Filed 08/02/18    Page 6 of 47



         displayed thereon. It is this “Plus One” doctrine, together with Brookstone’s commitment to

         quality, which is the primary strength and value driver associated with the “Brookstone” brand.

                 15.     In addition to Brookstone branded products, Brookstone offers a number of

         unique and innovate products created by third parties who—prior to their relationship with

         Brookstone—do not have access to wide distribution channels. Brookstone’s partnerships with

         these third parties offers tremendous synergies, allowing Brookstone to supplement sales revenue

         with products that fall within the Brookstone model but that don’t directly compete with

         Brookstone branded merchandise, and allowing the third party producer to access to a much

         more significant consumer base than would otherwise be available. Past successful partnerships

         include Tempur-Pedic, iRobot and Parrot Drone.

         C.      Product Channels

                 16.     Brookstone markets its branded products, and those of its third party product

         partners, in four channels: (i) mall retail, (ii) airport retail, (iii) e-commerce through

         www.brookstone.com and certain other third party sites (including www.Amazon.com) and (iv)

         wholesale (including TV shopping). In 2017, net sales by channel were approximately 53%

         mall/outlet, 21% e-commerce, 14% airport retail, and 12% wholesale. Historical sales

         information by segment is detailed in the below chart:




01:23475998.1

                                                            6
                         Case 18-11780-BLS           Doc 2       Filed 08/02/18    Page 7 of 47



                 (i)     Mall Retail

                 17.     As of the Petition Date, Brookstone operated 101 stores in malls throughout the

         United States, and one store in Puerto Rico (the “Puerto Rico Store”). The products offered in

         mall stores span each of the Debtors’ three product categories, and were the Debtors’ primary

         sales platform for the majority of the Debtors’ existence. As described further below, the

         Debtors mall stores have operated at a loss each year consecutively since 2014 as a result of shift

         of consumer preferences away from brick and mortar retailers (and shopping malls in particular)

         and the attendant loss of foot traffic that is so critical to the successful operation of retail stores.

         For the year ended 2017, each of the Debtors’ mall stores operated at a negative adjusted

         EBITDA, with an aggregate net sales of approximately $137.9 million, and adjusted EBITDA of

         negative $30 million.

                 (ii)    Airport Retail

                 18.     As of the Petition Date, Brookstone operated 35 stores in airports throughout the

         United States. Geared towards travelers, the airport stores carry less SKUs than the mall stores

         and the products offered are focused primarily in the Travel product category. Unlike the mall

         stores, consistent foot traffic, a captive consumer audience and limited seasonality has allowed

         these stores to thrive (on an aggregate level) in comparison to the Debtors’ mall stores. For the

         year ended 2017, the majority of the Debtors’ airport stores operated with positive adjusted

         EBITDA, with aggregate net sales of $37.7 million, and adjusted EBITDA of $1.4 million.

         Moreover, the net sales and adjusted EBITDA figures do not tell the whole story with respect to

         the productivity of the Airport retail outlets. As described further below, supply chain issues

         have limited the sales potential that would otherwise be captured with a healthy network of




01:23475998.1

                                                             7
                         Case 18-11780-BLS          Doc 2       Filed 08/02/18   Page 8 of 47



         suppliers. The Debtors believe that through the bankruptcy they can correct the supply chain

         issues and allow the airport stores to greatly increase their profitability.

                 (iii)   E-Commerce Segment

                 19.     Since 1996, the Debtors have operated an interactive website at

         www.brookstone.com. In addition to offering products available in retail stores, the website

         contains thousands of additional items that are designed to broaden and deepen Brookstone’s

         presence in key product categories. The “web-only” assortment of products available on the e-

         commerce site accounted for approximately 30% of Brookstone’s e-commerce sales for fiscal

         year 2017.

                 20.     The Debtors have continually sought to increase their web presence through

         marketing initiatives (such as outbound e-mails and placement of banner ads) as well as

         partnerships with third parties such as Google.com and Amazon.com which have the ability to

         directly place the Debtors’ products on their online sites.

                 21.     For much of the Debtors’ history they have supplemented their in-store and online

         sales with hard copy catalog mailings. The catalogs, which were mailed predominantly to

         customers that matched Brookstone’s key demographic profiles during the busiest sales periods

         of the year, had the added benefit of marketing the Brookstone brand name (indirectly enhancing

         in-store and online sales). In 2018, due predominantly to liquidity constraints, Brookstone

         determined to cease its hard copy catalog mailings. As described further below, this strategic

         decision negatively impacted both store retail and online sales in the years that followed.

                 22.     For the fiscal year ended 2017, the Debtors’ e-commerce operations accounted for

         net sales of $55.2 million, and had a negative adjusted EBITDA of $1 million. As with the

         airport retail segment, the net sales and adjusted EBITDA associated with the Debtors’ e-


01:23475998.1

                                                            8
                          Case 18-11780-BLS        Doc 2       Filed 08/02/18   Page 9 of 47



         commerce segment is not reflective of its true potential due to supply chain difficulties. In

         addition, and as described further below, technology issues and a turnover of senior level

         management at the e-commerce segment led to underperformance at a segment that should be

         performing at a significantly higher level. The Debtors believe that the bankruptcy filing will

         afford the Debtors the opportunity to right the operational defects that have artificially stymied

         the overall profitability that should be incumbent to the Debtors’ online presence.

                (iv)      Wholesale Segment

                23.       Wholesale is undoubtedly the largest potential growth area of the Brookstone

         brand in the United States. While the Debtors have engaged in a wholesale business since 2007,

         this segment was largely neglected from a strategic standpoint until the downfall of the mall

         store model became apparent in recent years. Historically, the Debtors sought out resellers and

         corporate partners to include Brookstone branded products in their stores, media outlets and

         catalogs, but only allowed such vendors to select from a small assortment of products already

         sold in malls.

                24.       More recently, Brookstone has focused significant energy (including through the

         onboarding of an experienced wholesale management team) to seek out wholesale partners to

         build this sales segment exponentially. The management team for this segment has been

         extremely successful, wooing partners such as Bed, Bath & Beyond, Costco and Home Shopping

         Network (among others) to carry significant amounts of the Debtors’ products. The demand for

         the Debtors’ products is high at these retailers as well as other potential partners.

                25.       While the Debtors have had much success in creating new relationships with

         wholesale partners that have significant upside potential, they have unfortunately been unable to

         fully service these relationships. Wholesale partners have indicated that they would like to carry


01:23475998.1

                                                           9
                        Case 18-11780-BLS         Doc 2     Filed 08/02/18   Page 10 of 47



         large quantities of the Debtors’ goods, but difficulties with the Debtors’ supply chain have made

         filling orders of wholesale purchasers impossible.

                26.     For the fiscal year ended 2017, the Debtors’ wholesale operations accounted for

         net sales of $32.6 million, and had an adjusted EBITDA of $5 million, though the Debtors

         believe that if the current relationships with wholesale purchasers can be maintained,

         profitability would be much higher. The Debtors believe that by fixing the supply chain issues

         and righting their liquidity through the bankruptcy proceeding, Brookstone will be well

         positioned to fully exploit this growth area in the near future.

         D.     Intellectual Property and Licensing

                27.     As discussed above, one of the Debtors’ most valuable assets is the “Brookstone”

         brand name, which is recognizable by the Debtors’ broad customer base both in the United States

         and abroad and is associated with premium quality and innovative products. In addition, the

         Debtors are the owners of many prominent and recognizable “sub-brands” that are associated

         with their premium quality products. Such sub-brands include “Big Blue Audio®”, “Nap®”,

         “Theraspa®”, “BioSense®” and “Carry On®”. These sub-brands are owned by the Debtors in

         various trademark classes in both the U.S. and internationally. In total, the Debtors (through

         Brookstone Company, Inc., Brookstone Purchasing, Inc., and Big Blue Audio LLC (collectively,

         the “IP Debtors”)) own a portfolio of 169 trademarks, 191 patents and 980 copyrights.

                28.     The IP Debtors license (the “License”) certain of their patents and trademarks that

         are registered in China to Brookstone Electronics Co., Ltd. (“Brookstone China”), an entity that

         is 10% owned (indirectly) by the Debtors and 90% owned by Sanpower (Hong Kong) Company

         Limited (“Sanpower”), an indirect non-debtor parent of the Debtors. In sum, the License permits

         Brookstone China to use the Brookstone name, and sell Brookstone branded products, in China.


01:23475998.1

                                                          10
                       Case 18-11780-BLS         Doc 2     Filed 08/02/18     Page 11 of 47



         Pursuant to this license, I understand that Brookstone China operates over 550 stores throughout

         China that are branded under the Brookstone name, or are co-branded with other retailers that

         sell similar products in China.

                29.     Under the terms of the current License, the IP Debtors are entitled to receive

         royalties equal to three percent of the cost of Brookstone branded goods purchased for sale in

         stores operated by Brookstone China. The Brookstone License expires by its terms on December

         31, 2018.

         E.     Product Development and Sourcing

                30.     As discussed above, the products sold by the Debtors through their various sales

         channels consist of Brookstone branded products and, to a lesser extent, products designed and

         branded by third parties. As of the Petition Date, Brookstone branded products accounted for

         nearly 70% of net sales across all channels, and accounted for a substantially higher profit

         margin on a gross basis (approximately 60-70% margins on proprietary products as opposed to

         40-50% for third party merchandise).

                31.     Certain of the Brookstone branded products are designed from the ground-up at

         the Debtors’ Merrimack, New Hampshire headquarters, while others are sourced from concepts

         developed overseas that are brought to market in the U.S. The Debtors’ “Design Lab” oversees

         this creation of new products and the introduction of externally sourced items to market. This

         design segment was first launched in 1999, with a view towards not only developing innovative

         “need to own” products, but also with an aggressive “freshness” goal of replacing one third of all

         branded inventory on an annual basis.

                32.     The design team has historically consisted of approximately 30 experienced

         industrial designers and electrical and mechanical engineers (i.e. the teams that design new


01:23475998.1

                                                         11
                       Case 18-11780-BLS         Doc 2    Filed 08/02/18     Page 12 of 47



         products from ideas or significantly modify sourced products in partnership with vendors), and

         merchants (i.e. the teams that uncover or create new product opportunities, validate the business

         plan, manage the development timeline and direct product marketing for the newly designed

         products). In addition, Brookstone has historically employed a team of QA/QC personnel in-

         house that conduct quality assurance, manage quality control and all necessary government

         compliance measures for each of Brookstone’s product offerings. As liquidity and profitability

         has flagged over recent years, the Debtors have been forced to make a number of cuts to the

         design, merchant and QA/QC teams.

                33.     Once designed, products are sourced through various vendors in the United States

         and Asia. Brookstone’s largest sourcing partner is Shenzhen Yuanchuang International Trading

         Co. d/b/a Sanpower Sourcing Group (“SSG”). Pursuant to a supply agreement (the “Supply

         Agreement”) between Brookstone Purchasing, Inc. and SSG, a significant majority of

         Brookstone’s products that are sourced from Asia are provided through SSG’s network of

         factories. The terms of the Supply Agreement provide that Brookstone shall deliver purchase

         orders to SSG, who will in turn source the desired inventory from its network of factories.

         Because Brookstone is in privity of contract with only SSG (and not the underlying suppliers

         covered by the Supply Contract), payables for products covered by the Supply Agreement are

         owed to SSG. SSG is, in turn, solely responsible for compensating the underlying factories for

         their products. Approximately 48% of Brookstone’s products, as measured by net sales, are

         sourced by SSG. As of the Petition Date, SSG was Brookstone’s largest unsecured trade creditor

         with approximately $40 million due and owing to SSG under the Supply Contract.

         F.     Corporate Headquarters and Distribution Center




01:23475998.1

                                                         12
                       Case 18-11780-BLS         Doc 2      Filed 08/02/18   Page 13 of 47



                34.     The Debtors own their corporate headquarters located in Merrimack, New

         Hampshire. Brookstone also operates a single 400,000 square feet distribution center in Mexico,

         Missouri (the “Distribution Center”) that is subject to a capital lease between Brookstone Stores,

         Inc. and the City of Mexico, Missouri. The Debtors receive and distribute nearly all of their

         inventory through the Distribution Center, which supports the retail, e-commerce and wholesale

         segments. Distributions to retail stores are made, at a minimum, on a weekly basis,

         predominantly through Federal Express (“FedEx”). Distributions to e-commerce customers are

         made daily, predominantly through FedEx. Additionally, a number of products are “drop-

         shipped” or shipped directly to customers by vendors.

                                         III.   Organizational Structure

                35.     Brookstone conducts its operations through a network of affiliated companies that

         own the various assets comprising its businesses. These companies are all directly or indirectly

         owned by Sanpower Group Co., Ltd. A copy of the Brookstone organizational chart (the

         “Organizational Chart”) is attached as Exhibit A.

                36.     Brookstone Holdings Corp. and Brookstone, Inc. are both incorporated in

         Delaware and are holding companies, the principal asset of which is the capital stock of

         Brookstone Company, Inc., a New Hampshire corporation that, along with its direct and indirect

         subsidiaries, operates the Debtors’ businesses.

                37.     The principal operations of Brookstone are contained in its operating companies.

         First is the cash management and receivable/payables operation. Brookstone Company, Inc. has

         traditionally held the primary distributing bank account and has managed the contractual

         relationships with the Debtors’ vendors, suppliers, and other contract counterparties. Brookstone




01:23475998.1

                                                           13
                         Case 18-11780-BLS          Doc 2    Filed 08/02/18    Page 14 of 47



         Purchasing, Inc. is the counterparty to the SSG Supply Contract, and is responsible for the

         substantial majority of the purchase orders originating from the Debtors to suppliers.

                   38.    Second is the retail store leasing operation. This is managed predominantly by

         Brookstone Stores, Inc. (“Brookstone Stores”). Brookstone Stores is the lessee on substantially

         all of the mall stores and 11 of the airport stores, while Brookstone Retail Puerto Rico, Inc. is the

         lessee on the Puerto Rico Store. In addition, Brookstone Company, Inc. is the lessee on four

         airport stores, Brookstone Holdings, Inc. is the lessee on one airport store, and Brookstone

         Properties, Inc. is the lessee on one airport store. The remaining 18 airport stores are operated by

         joint ventures where Brookstone Stores is a partial owner and an unaffiliated third party is the

         joint venture partner. Brookstone Stores is the majority owner of all but two of the joint ventures

         (which two joint ventures collectively account for three of the airport stores).

                   39.    Third is ownership and licensing of the intellectual property portfolio which, as

         noted above, is held by Brookstone Company, Inc., Brookstone Purchasing, Inc., and Big Blue

         Audio LLC. These three entities license key trademarks and patents to Brookstone China

         pursuant to the License. As noted in the Organizational Chart, Brookstone China is 10% owned

         (indirectly) by Debtor Brookstone International Holdings, Inc.

                                              IV.     Capital Structure

                   40.    The chart below sets forth the Debtors’ funded debt obligations as of the Petition

         Date:



                   Debt Obligation           Original        Approximate             Maturity     Security
                                             Principal     Principal Amount                        Status
                                             Amount        Outstanding as of
                                                             Petition Date
                Prepetition ABL           $70,000,000.00 $13,513,758.59              7/7/19     Secured
                Facility                  (Revolver)     (Revolver)

01:23475998.1

                                                            14
                            Case 18-11780-BLS            Doc 2      Filed 08/02/18        Page 15 of 47




                                               $15,000,000.00 $15,000,000.00
                                               (Term Loan)    (Term Loan)

                Prepetition Second Lien        $10,000,000.00 $14,870,087.41                    7/7/21       Secured
                Notes
                Sanpower Secured               $39,490,281.05 $39,490,281.05                    7/8/19       Secured
                Notes
                Sanpower Unsecured             $46,625,906.44 $46,625,906.44                    7/8/19       Unsecured
                Notes

         A.         Prepetition ABL Facility

                    41.      Brookstone Company, Inc. as successor borrower,2 Wells Fargo, as Agent (as

         successor to General Electric Capital Corporation (“GECC”)), and certain lenders are parties to a

         Credit Agreement, dated as of July 7, 2014 (as amended, modified, supplemented, or restated

         from time to time, the “Prepetition ABL Facility”). Each of the other Debtors guaranteed the

         obligations under the Prepetition ABL Facility. The Prepetition ABL Facility is comprised of a

         $70.0 million revolving credit facility (the “Revolver”) and a term loan with an initial principal

         amount of $15.0 million (the “Term Loan”). Gordon Brothers is the lender under the Term

         Loan.

                    42.      The Prepetition ABL Facility obligations are secured by first priority liens on

         substantially all of the Debtors’ assets, including receivables, inventory, general intangibles,

         intellectual property, documents, deposit accounts, equipment, fixtures, and inventory, all as set

         forth in that certain Guaranty and Security Agreement, dated as of July 7, 2014 by and among

         Brookstone Company, Inc., as successor borrower, the guarantors party thereto, and GECC, as

         Agent, and the companion patent, trademark and copyright agreements entered into as of July 7,




           2
                Sailing Innovation (US) Inc. was the initial borrower, and was subsequently merged into Brookstone Holdings,
                Corp.

01:23475998.1

                                                                   15
                       Case 18-11780-BLS          Doc 2    Filed 08/02/18     Page 16 of 47



         2014 and June 3, 3015. The Prepetition ABL Facility is further secured by a first mortgage on

         the Debtors’ corporate headquarters property in Merrimack, New Hampshire.

         B.     Prepetition Second Lien Notes

                43.     Brookstone Holdings Corp. issued 10.00% Second Lien Subordinated Secured

         Notes Due 2021 (the “Prepetition Second Lien Notes”) pursuant to the Indenture, dated as of

         July 7, 2014, by and among Brookstone Holding Corp. as issuer, the other Debtors as guarantors,

         and Wilmington Trust, National Association (“Wilmington Trust”) as Trustee. The Prepetition

         Second Lien Notes Indenture provided for the payment of interest either in cash or in kind (“PIK

         Interest”), at the option of the issuer. The Prepetition Second Lien Notes were originally issued

         with a face value of $10.0 million; however, following the accrual of PIK Interest, the

         Prepetition Second Lien Notes carried a face value of $14,870,087.41 as of the Petition Date.

         The Prepetition Second Lien Notes are secured by second priority liens on substantially the same

         assets as the Prepetition ABL Facility, however, the collateral securing the Prepetition Second

         Lien Notes does not include the Debtors’ interests in real estate.

         C.     Subordination Agreement

                44.     Brookstone Company, Inc., as successor borrower under the Prepetition ABL

         Facility, Brookstone Holdings Corp., as issuer of the Prepetition Second Lien Notes, GECC as

         Agent under the Prepetition ABL Facility and Wilmington Trust, as Trustee for the Prepetition

         Second Lien Notes entered into a Subordination Agreement dated as of July 7, 2014 that, among

         other things, governs the relative priorities of liens granted under the Prepetition ABL Facility

         and Prepetition Second Lien Notes, respectively (“Subordination Agreement”). Pursuant to the

         terms of the Subordination Agreement, the rights and remedies of Wilmington Trust and the

         holders of the Prepetition Second Lien Notes are limited in any bankruptcy proceeding of the


01:23475998.1

                                                          16
                       Case 18-11780-BLS        Doc 2     Filed 08/02/18     Page 17 of 47



         Debtors, including in connection with any proposed DIP financing. In pertinent part, the

         Subordination Agreement provides that:

                Section 2.3 Insolvency Proceedings. In the event of an Insolvency Proceeding:

                …

                (g)     Post-Petition Financing. If any Obligor or Obligors shall become subject
                to an Insolvency Proceeding and such Obligor or Obligors as debtor(s)-in-
                possession (or a trustee appointed on behalf of such Obligor or Obligors) shall
                move for either approval of financing to be provided by one or more of the
                Lenders and constituting Senior Indebtedness (“DIP Financing”) under Section
                364 of the Bankruptcy Code or the use of cash collateral with the consent of the
                Lenders under Section 363 of the Bankruptcy Code, the Second Lien Agent (on
                behalf of itself and the holders of the Subordinated Notes) agrees as follows: (A)
                the Second Lien Agent (on behalf of itself and the holders of the Subordinated
                Notes) hereby waives any notice requirement with respect to such DIP Financing
                or use of cash collateral, (B) such DIP Financing may be secured by Liens on all
                or a part of the assets of the Obligors which shall be superior in priority to the
                Liens on the assets of the Obligors held by any other Person (including, without
                limitation, the Second Lien Agent and the holders of the Subordinated Notes), (C)
                neither the Second Lien Agent nor the holders of the Subordinated Notes will
                request or accept adequate protection or any other relief in connection with the
                use of such cash collateral or such DIP Financing, (D) the Second Lien Agent and
                the holders of the Subordinated Notes will subordinate (and will be deemed
                hereunder to have subordinated) their Liens (i) to the Liens granted to the First
                Lien Agent and/or the Lenders securing such DIP Financing (the “DIP Liens”) on
                the same terms (but on a basis junior to the Liens of the Lenders) as the Liens of
                the Lenders are subordinated thereto (and such subordination will not alter in any
                manner the terms of this Agreement), and (ii) to any “replacement Liens” granted
                to the Lenders as adequate protection of their Liens on the Collateral in respect of
                the Senior Indebtedness (the “Senior Adequate Protection Liens”), (E) the Second
                Lien Agent and the holders of the Subordinated Notes will consent to any “carve-
                out” agreed to by the First Lien Agent and/or the other Lenders and (F) neither the
                Second Lien Agent nor the holders of the Subordinated Notes will contest or
                otherwise object in any manner to any adequate protection provided to the
                Lenders as adequate protection of their interests in the Collateral, any DIP
                Financing or any cash collateral use, in each case on terms provided herein and
                each shall be deemed to have waived any such objections to such adequate
                protection, DIP Financing or cash collateral use, including, without limitation, any
                objection alleging Obligors’ failure to provide “adequate protection” of the
                interests of the Second Lien Agent and the holders of the Subordinated Notes in
                the Collateral (but excluding any objection alleging violation of the terms of this
                Agreement, as to which no waiver is provided).


01:23475998.1

                                                        17
                      Case 18-11780-BLS         Doc 2    Filed 08/02/18    Page 18 of 47



                (h)     Adequate Protection. Neither the Second Lien Agent nor the holders of
                the Subordinated Notes may seek post-petition interest and/or adequate protection
                (whether in the form of adequate protection liens or adequate protection
                payments) in any Insolvency Proceeding in connection with DIP Financing or use
                of cash collateral, and the Lenders may oppose any such liens and/or payments
                proposed to be granted and/or made, as applicable, by any Obligor to the Second
                Lien Agent or the holders of the Subordinated Notes. Furthermore, in the event
                that the Second Lien Agent or any holder of the Subordinated Notes actually
                receives any post-petition interest and/or adequate protection payments in any
                Insolvency Proceeding, the same shall be segregated and held in trust and
                promptly paid over to the First Lien Agent, for the benefit of the Lenders, in the
                same form as received, with any necessary endorsements, and the Second Lien
                Agent and each holder of the Subordinated Notes hereby authorizes the First Lien
                Agent to make any such endorsements as agent for the Second Lien Agent (which
                authorization, being coupled with an interest, is irrevocable) to be held and/or
                applied by the First Lien Agent in accordance with the terms of the Senior
                Indebtedness Documents until Payment in Full of all Senior Indebtedness before
                any of the same shall be made to the Second Lien Agent or one or more holders of
                the Subordinated Notes, and the Second Lien Agent and each holder of the
                Subordinated Notes irrevocably authorizes, empowers and directs any debtor,
                debtor in possession, receiver, trustee, liquidator, custodian, conservator,
                administrator or other Person having authority, to pay or otherwise deliver
                all such payments to the First Lien Agent.

         Subordination Agreement, § 2.3.

         D.     Sanpower Secured Notes

                45.    Beginning in January 2018 through to July 16, 2018, Sanpower, as lender, entered

         into 17 separate Secured Subordinated Promissory Notes (each a “Sanpower Secured Note,” and

         collectively, the “Sanpower Secured Notes”) with Brookstone Company, Inc., as borrower, each

         due July 8, 2019. A listing of each of the Sanpower Secured Notes is below:

                             No.            Date         Original Principal Amount
                               1.          01/22/18             $1,000,000.00
                               2.          01/23/18             $2,490,000.00
                               3.          01/25/18             $2,510,000.00
                               4.          02/28/18             $5,000,000.00
                               5.          03/13/18             $6,000,000.00


01:23475998.1

                                                        18
                       Case 18-11780-BLS         Doc 2     Filed 08/02/18     Page 19 of 47




                               No.           Date          Original Principal Amount
                                6.         04/04/18               $4,000,000.00
                                7.         04/13/18               $2,000,000.00
                                8.         04/18/18               $1,500,000.00
                                9.         04/20/18                $500,000.00
                                10.        05/02/18               $1,000,000.00
                                11.        05/04/18               $1,999,985.00
                                12.        05/07/18               $1,799,985.00
                                13.        05/24/18                $690,336.05
                                14.        06/06/18               $2,499,975.00
                                15.        06/20/18               $1,500,000.00
                                16.        07/06/18               $2,000,000.00
                                17.        07/16/18               $3,000,000.00
                                           TOTAL                  $39,490,281.05

                46.     The Sanpower Secured Notes are guaranteed by Brookstone Purchasing, Inc. and

         Big Blue Audio LLC pursuant to a Guaranty entered into as of June 29, 2018 (the “Sanpower

         Guaranty”), and are not guaranteed by any of the other Debtors. The Sanpower Secured Notes

         are secured (i) by liens on all of the assets of Brookstone Company, Inc., and (ii) by certain

         intellectual property assets of Brookstone Purchasing, Inc. and Big Blue Audio LLC pursuant to

         an Intellectual Property Security Agreement entered into as of July 6, 2018. The Sanpower

         Secured Notes are not secured by assets of any of the other Debtors. Pursuant to the terms of the

         Sanpower Secured Notes, the obligations owed to Sanpower under the Sanpower Secured Notes

         are contractually subordinated to the obligations underlying the Prepetition ABL Facility until

         payment in full of such obligations.




01:23475998.1

                                                         19
                       Case 18-11780-BLS        Doc 2     Filed 08/02/18     Page 20 of 47



         E.     Sanpower Unsecured Notes

                47.     Beginning in February 2016 through to September 2016, Sanpower, as lender,

         entered into 10 separate Unsecured Subordinated Promissory Notes (each a “Sanpower

         Unsecured Note,” and collectively, the “Sanpower Unsecured Notes”) with Brookstone

         Company, Inc., as borrower, each due July 8, 2019. A listing of each of the Sanpower Secured

         Notes is below:

                              No.           Date          Original Principal Amount
                                1.        02/04/16                 $5,000,000
                                2.        09/07/16                 $5,000,000
                                3.        10/12/16                 $5,000,000
                                4.        04/18/17                 $3,000,000
                                5.        05/15/17                 $6,000,000
                                6.        06/02/17                 $3,000,000
                                7.        07/05/17                $15,000,000
                                8.        08/30/17               $2,125,906.44
                                9.        09/11/17                 $1,300,000
                                10.       09/15/17                 $1,200,000
                                          TOTAL                 $46,625,906.44

                48.     The Sanpower Unsecured Notes are guaranteed by Brookstone Purchasing, Inc.

         and Big Blue Audio LLC pursuant to the Sanpower Guaranty, and are not guaranteed by any of

         the other Debtors, and are not secured by any liens. Pursuant to the terms of the Sanpower

         Unsecured Notes, the obligations owed to Sanpower under the Sanpower Unsecured Notes are

         contractually subordinated to the obligations underlying the Prepetition ABL Facility until

         payment in full of such obligations.




01:23475998.1

                                                        20
                       Case 18-11780-BLS          Doc 2    Filed 08/02/18     Page 21 of 47



         F.     Trade Debt

                49.      As of the Petition Date, the Debtors estimate that their unsecured debt is between

         $75 and $85 million, excluding the Sanpower Unsecured Notes and any potential deficiency

         claims associated with the Prepetition Second Lien Notes and the Sanpower Secured Notes.

         Approximately $50 million in unsecured trade debt is due to vendors, including approximately

         $40 million owed to SSG.

         G.     Equity

                50.      As discussed above, the Debtors are 100% owned by Sanpower Group Co., Ltd.

         through a series of wholly-owned intermediate holding companies.

                                 V.      Events Leading to the Chapter 11 Cases

         A.     Prior Bankruptcy

                51.      In 2007, Brookstone had reached its peak profitability, generating net sales of

         $563 million and adjusted EBITDA of $59 million. Following the great recession of 2008,

         Brookstone struggled to perform anywhere near pre-recession levels. In fiscal 2013,

         Brookstone’s adjusted EBITDA was a mere $10.7 million.

                52.      During and after the economic downturn, Brookstone attempted to improve its

         balance sheet by eliminating unprofitable stores, cutting staff, reducing overhead, streamlining

         product development and cutting marketing efforts (including cutting catalog circulation by

         50%). At the same time, Brookstone attempted to de-lever its balance sheet through exchange

         offers and repurchases of its then outstanding notes. Despite these cost cutting efforts, a

         disappointing holiday sales season in 2013 and a looming January 15, 2014 interest payment on

         then outstanding second lien notes made it clear that a bankruptcy filing was inevitable.




01:23475998.1

                                                          21
                        Case 18-11780-BLS          Doc 2     Filed 08/02/18      Page 22 of 47



                 53.     Following entry into a forbearance agreement, on April 3, 2014, the Debtors,

         together with certain affiliated entities, filed petitions for relief pursuant to chapter 11 of the

         Bankruptcy Code in the Bankruptcy Court for the District of Delaware (the “2014 Bankruptcy”).

         Immediately prior to filing the 2014 Bankruptcy, Brookstone entered into a stalking horse

         agreement with an affiliate of Spencer Spirit Holdings, Inc. (“Spencer”) to purchase newly

         issued shares of reorganized Brookstone Holdings Corp. pursuant to a to-be-filed plan of

         reorganization. The plan sponsor stalking horse agreement, however, was subject to a

         competitive marketing and auction process. Following a lengthy auction, affiliates of Sanpower

         Group Co., Ltd. were declared to be the successful bidder, and were substituted as plan sponsor

         for Spencer.

                 54.     On June 24, 2014, the plan of reorganization of the Debtors was confirmed by the

         Court, and on July 7, 2014 the plan was declared effective.

         B.      Events Following the 2014 Bankruptcy

                 55.     Following the 2014 Bankruptcy, sales continued to lag almost immediately. For

         the years ended 2014 and 2015, net sales were pegged at approximately $420 million and $389

         million respectively, while adjusted EBITDA was booked at negative $38 million and negative

         $24 million respectively. While a number of factors contributed to the underperformance,

         sourcing of products and supply chain difficulties were the major drivers.

                 56.     In 2016 and early 2017, Brookstone pressured vendors to change their payment

         terms from a standard 10 days to 60 days. In addition, Brookstone sought out vendors who

         would accept Chinese Yuan (RMB) as opposed to U.S. Dollars. These moves caused certain

         vendors to cease sales to Brookstone.




01:23475998.1

                                                            22
                         Case 18-11780-BLS       Doc 2     Filed 08/02/18     Page 23 of 47



                57.      The drop in net sales in 2016 and 2017 was further exacerbated by the decline in

         the mall model as a means for consumers to buy products of the type sold by Brookstone.

         During this time, foot traffic at mall locations decreased drastically, as consumers continued to

         seek out products online as a replacement for traditional brick and mortar shopping. For the

         fiscal years ended 2016 and 2017, net sales were approximately $351 million and $264 million

         respectively, while adjusted EBITDA was negative $39 million and negative $60 million

         respectively.

                58.      Brookstone was unable to compensate for the decline in mall shopping through its

         e-commerce platform. Consistent leadership changes in the e-commerce segment led to a loss of

         institutional knowledge and significant junior associate turnover. At the same time, the Debtors’

         changed the technology underlying the e-commerce platform, and in so doing lost a substantial

         amount of data and indexing, severely damaging Brookstone’s web presence. In 2018 the

         Debtors also made the strategic decision to eliminate the production and mailing of hard copy

         catalogs as a cost cutting measure. Because the catalogs were directly responsible for a

         significant portion of the web traffic on the Debtors’ e-commerce site, the negative impact on the

         Debtors’ online sales was dramatic.

                59.      During the years ended 2016 and 2017, the Debtors were able to survive only

         through continued investments of cash from Sanpower. From February 2016 to September 2017

         Sanpower provided approximately $47 million in subordinated unsecured loans to Brookstone.

         Further loans were provided, this time on a subordinated secured basis, in the aggregate amount

         of approximately $40 million throughout 2018.

                60.      In June 2018, Brookstone was informed by Sanpower that it would only provide

         limited funding in July 2018, and that Brookstone would have to look elsewhere for financing


01:23475998.1

                                                         23
                        Case 18-11780-BLS         Doc 2     Filed 08/02/18     Page 24 of 47



         sources, or significantly reduce operating expenses. Without the means to continue to operate

         absent funding from Sanpower, the Debtors hired restructuring professionals to prepare for a

         bankruptcy filing, secure DIP financing and market the Debtors’ businesses for an in-court sale

         process.

         C.     Efforts to Secure Financing

                61.     One of the critical elements to the Debtors’ restructuring efforts is the availability

         of financing to fund the Debtors’ anticipated cash shortfalls during the bankruptcy case, as well

         as to bridge to a sale and fund an orderly wind-down. With the assistance of their advisors,

         beginning in July 2018, the Debtors contacted approximately 40 potential lenders to inquire into

         their willingness to provide financing during the Chapter 11 Cases. Of the potential lenders, the

         Debtors executed non-disclosure agreements with 22 financial institutions. 22 potential lenders

         were provided with diligence information and, of those potential lenders, 12 potential lenders

         were provided access to a data room to facilitate more detailed diligence. Despite indications of

         interest from current creditors and various third parties, the Debtors were unable to find any

         lender that was willing to provide financing on a junior basis to the existing secured facilities or

         to refinance in full the existing secured debt.

                62.     The Debtors believe that engaging in a priming fight with their existing first lien

         lenders at the outset of the Chapter 11 Cases would be extremely disruptive, even if successful,

         and would compromise the Debtors’ chances of successfully executing their strategy of selling

         their businesses as a going concern, for the benefit of all stakeholders. As such, the only serious

         contender for provision of post-petition financing was determined to be the existing lenders

         under the Debtors’ Prepetition ABL Facility.




01:23475998.1

                                                           24
                       Case 18-11780-BLS         Doc 2     Filed 08/02/18     Page 25 of 47



                63.     Following negotiations with the DIP Lenders, the Debtors were able to negotiate

         the DIP Facility, which will provide the Debtors with up to $30 million in post-petition financing

         to fund the Debtors’ costs and expenses during the Chapter 11 Cases.

                64.     Accordingly, the Debtors are seeking an order through the DIP Motion (as

         defined below) authorizing the (a) incurrence of post-petition indebtedness through the DIP

         Facility, (b) granting of priming liens and super-priority administrative expenses, and (c) use of

         cash collateral. I have reviewed the DIP Motion and the factual statements therein are true and

         correct.

                65.     The DIP Facility gives the Debtors appropriate flexibility during the Chapter 11

         Cases. The Debtors need the cash available under the DIP Facility to fund ongoing operating

         expenses as well as to bridge to a sale of the Debtors’ businesses. The Debtors considered

         whether they could operate using only the cash generated from post-petition operations, and

         determined that they could only do so for a very limited period of time. Without the DIP

         Facility, the Debtors would not be able to fund ongoing operating expenses, including payroll, on

         an ongoing basis, and bankruptcy-related expenses during these cases. The Debtors’ ability to

         remain a viable operating entity until the time of its sale depends on obtaining the interim and

         final relief requested in the DIP Motion.

                                    VI.     Expectations for Chapter 11 Case

                66.     Through these Chapter 11 Cases, the Debtors plan to execute an orderly store

         closing process and continue a marketing and sale process that began prepetition.

                67.     With respect to the store closings, the Debtors hired Gordon Brothers Retail

         Partners, LLC and Hilco Merchant Resources, LLC (the “Liquidator Consultant”) prior to the

         Petition Date to manage an orderly store closing process that will include certain “going out of


01:23475998.1

                                                         25
                            Case 18-11780-BLS              Doc 2      Filed 08/02/18        Page 26 of 47



         business” sales supervised by the Liquidator Consultant at substantially all of the mall stores.

         The airport stores will be unaffected by the store closing sales.

                    68.      With respect to the sale process, the Debtors (through their investment bankers),

         began testing the market for potential purchasers of substantially all of the Debtors’ assets on a

         going concern basis in July 2018. In so doing, the Debtors and their investment bankers cast a

         wide net in soliciting interest from potential purchasers. As of the Petition Date, certain potential

         buyers have already signed non-disclosure agreements and begun due diligence in consideration

         of a potential acquisition of a material portion of the Debtors’ business operations. In addition,

         an electronic data room has been made available for potential bona fide bidders. Despite strong

         interest, no party has yet submitted a final proposal for a sale transaction.

                    69.      Nevertheless, the Debtors have negotiated a timeline for the sale of their

         businesses that I believe is sufficient, under the circumstances, to continue and finalize a robust

         marketing and sale process that will maximize value for all stakeholders. As set forth in a

         motion seeking authority to establish bidding procedures that is being filed contemporaneously

         herewith, the anticipated sale process will conclude at the end of September 2018, affording the

         Debtors two months to fully market their business post-petition.

                                     VII.     Evidentiary Support for First Day Motions3

                    70.      Concurrently with the filing of their chapter 11 petitions, the Debtors have filed

         certain First Day Motions seeking relief that the Debtors believe is necessary to enable them to

         operate in these Chapter 11 Cases with minimal disruption and loss of productivity. The Debtors

         respectfully request that the relief requested in each of the First Day Motions be granted because

         such relief is a critical element in stabilizing and facilitating the Debtors’ operations during the

           3
                Capitalized terms used but not otherwise defined in this Section VII shall have the meanings ascribed to such
                terms in the applicable First Day Motion.

01:23475998.1

                                                                    26
                       Case 18-11780-BLS         Doc 2    Filed 08/02/18     Page 27 of 47



         pendency of the Chapter 11 Cases. I have reviewed each of the First Day Motions. All of the

         facts set forth in the First Day Motions are true and correct to the best of my knowledge and

         belief based upon (a) my personal knowledge of the Debtors’ operations and finances, (b)

         information learned from my review of relevant documents, (c) information supplied to me by

         other members of the Debtors’ management team and the Debtors’ advisors, and/or (d) my

         opinion based upon my knowledge and experience or information I have reviewed concerning

         the Debtors’ operations and financial condition. A summary of the relief requested in each First

         Day Motion and the facts supporting each First Day Motion is set forth below. The First Day

         Motions (each as described in more detail below) include:

                        1. Debtors’ Motion for Entry of an Order Directing the Joint Administration of
                           the Debtors’ Chapter 11 Cases (the “Joint Administration Motion”);

                        2. Debtors’ Application for Appointment of Omni Management Group, Inc. as
                           Claims and Noticing Agent (the “156(c) Application”);

                        3. Debtors’ Motion for Interim and Final Orders Authorizing (A) the
                           Maintenance of the Cash Management System; (B) Maintenance of Existing
                           Bank Accounts; (C) Continued Use of Existing Business Forms; and
                           (D) Continued Performance of Intercompany Transactions in the Ordinary
                           Course of Business and Grant of Administrative Expense Status for
                           Postpetition Intercompany Claims, and (E) Granting Related Relief (the
                           “Cash Management Motion”);

                        4. Debtors’ Motion for Entry of an Order Authorizing Payment of (A) Certain
                           Prepetition Wages, Salaries, and Other Compensation and (B) Certain
                           Employee Benefits and Other Associated Obligations (the “Employee Wage
                           Motion”);

                        5. Debtors’ Motion for Entry of Interim and Final Orders (A) Prohibiting Utility
                           Providers from Altering, Refusing, or Discontinuing Service; (B) Approving
                           the Debtors’ Proposed Adequate Assurance of Payment for Postpetition
                           Services; and (C) Establishing Procedures for Resolving Requests for
                           Additional Adequate Assurance of Payment (the “Utilities Motion”);

                        6. Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing, but
                           not Directing, the Debtors to Pay Certain Prepetition Taxes and Obligations,
                           and (B) Granting Related Relief (the “Tax Motion”);

01:23475998.1

                                                         27
                       Case 18-11780-BLS          Doc 2     Filed 08/02/18     Page 28 of 47



                        7. Debtors’ Motion for Entry of Interim and Final Orders Authorizing (A)
                           Continuation of, and Payment of Prepetition Obligations Incurred in the
                           Ordinary Course of Business in Connection With, Various Insurance Policies,
                           Including Payment of Policy Premiums and Broker Fees, (B) Continuation of
                           Insurance Premium Finance Agreements, and (C) Banks to Honor and
                           Process Checks and Electronic Transfer Requests Related Thereto (the
                           “Insurance Motion”);

                        8. Debtors’ Motion for Entry of Interim and Final Orders Authorizing Debtors
                           to Honor and Continue Certain Customer Programs and Customer
                           Obligations in the Ordinary Course of Business (the “Customer Programs
                           Motion”);

                        9. Debtors’ Motion for Entry of Interim and Final Orders Authorizing the
                           Debtors to Pay Claims for Prepetition Customs, Shipper, Warehousemen, and
                           Common Carrier Obligations (the “Shippers Motion”);

                        10. Debtors’ Motion for Entry of Interim       and Final Orders (A) Establishing
                            Notice and Objection Procedures for        Transfers of Equity Securities and
                            Claims of Worthless Stock Deductions,      and (B) Establishing a Record Date
                            for Notice and Sell-Down Procedures        for Trading in Claims Against the
                            Debtors’ Estates (the “NOL Motion”);

                        11. Debtors’ Motion for Interim and Final Orders (A) Authorizing the Debtors to
                            Assume Closing Store Agreement; (B) Authorizing and Approving Closing
                            Sales Free and Clear of All Liens, Claims and Encumbrances; (C)
                            Authorizing the Implementation of Customary Employee Bonus Program and
                            Payments to Non-Insiders Thereunder; (D) Approving Dispute Resolution
                            Procedures; and (E) Approving the Debtors’ Store Closing Plan (the “Store
                            Closing Motion”); and

                        12. Debtors’ Motion for Interim and Final Orders (I) Authorizing the Debtors to
                            Obtain Postpetition Secured Financing; (I) Authorizing the Debtors’ Use of
                            Cash Collateral; (III) Granting Adequate Protection to Prepetition ABL
                            Parties; (IV) Scheduling a Final Hearing; and (V) Granting Related Relief
                            (the “Cash Collateral/DIP Motion”).

         A.     Joint Administration Motion

                71.     In the Joint Administration Motion, the Debtors request entry of an order

         providing for the joint administration of the Chapter 11 Cases for procedural purposes only.

         Specifically, the Debtors request that the Court provide for joint administration by

         (a) establishing a joint docket and file for the Chapter 11 Cases, (b) approving the filing of a joint


01:23475998.1

                                                          28
                        Case 18-11780-BLS          Doc 2    Filed 08/02/18      Page 29 of 47



         pleading caption, (c) approving certain procedures related to the filing of proofs of claim, and

         (d) directing an entry be made on the docket of each of the Debtors (other than Brookstone

         Holdings Corp.) to reflect the joint administration of the Chapter 11 Cases.

                72.     Given the integrated nature of the Debtors’ operations, joint administration of the

         Chapter 11 Cases will provide significant administrative convenience without harming the

         substantive rights of any party in interest. Many of the motions, hearings, and orders that will

         arise in the Chapter 11 Cases will jointly affect all Debtors. The entry of an order directing joint

         administration of the Chapter 11 Cases will reduce fees and costs by avoiding duplicative filings

         and objections and will allow the Office of the United States Trustee and all parties in interest to

         monitor the Chapter 11 Cases with greater ease and efficiency.

                73.     I believe that the relief requested in the Joint Administration Motion is in the best

         interests of the Debtors’ estates, their creditors, and all other parties in interest. Accordingly, on

         behalf of the Debtors, I respectfully submit that the Joint Administration Motion should be

         approved.

         B.     The 156(c) Application

                74.     In the 156(c) Application, the Debtors seek entry of an order authorizing the

         Debtors to retain Omni Management Group, Inc. (“Omni”) as their Claims and Noticing Agent

         in these Chapter 11 Cases, including assuming full responsibility for the distribution of notices

         and the maintenance, processing, and docketing of proofs of claim filed in these Chapter 11

         Cases. It is my understanding that the Debtors’ selection of Omni to act as the Claims and

         Noticing Agent has satisfied this Court’s protocol for the Employment of Claims and Noticing

         Agents under 28 U.S. C. § 156(c), in that the Debtors, with the assistance of their advisors, have

         obtained and reviewed engagement proposals from at least two other court-approved claims and

         noticing agents to ensure selection through a competitive process. Moreover, I submit, based on
01:23475998.1

                                                           29
                        Case 18-11780-BLS          Doc 2     Filed 08/02/18     Page 30 of 47



         all engagement proposals obtained and reviewed, that Omni’s rates are competitive and

         reasonable given Omni’s quality of services and expertise. Although the Debtors have not yet

         filed their schedules of assets and liabilities, they anticipate that there will be thousands of

         entities to be noticed. In view of the number of anticipated claimants and the complexity of the

         Debtors’ businesses, the Debtors submit that the appointment of a claims and noticing agent is

         required by Local Rule 2002-1(f) and is otherwise in the best interests of both the Debtors’

         estates and their creditors.

         C.      The Cash Management Motion

                 75.     In the Cash Management Motion, the Debtors request entry of an order

         (a) authorizing the Debtors to (i) continue to use their Cash Management System (as defined

         below), (ii) maintain the existing Bank Accounts, (iii) continue to use existing Business Forms,

         (iv) continue to perform regarding the Intercompany Transactions, and related thereto granting

         administrative expense status for postpetition Intercompany Claims, (v) in their discretion, to

         (A) pay any Bank Account related fees and (B) to close or otherwise modify the terms of certain

         of the Bank Accounts and open new debtor in possession accounts as may be necessary to

         facilitate their Chapter 11 Cases and operations, or as may otherwise be necessary to comply

         with the requirements of any debtor in possession financing and/or cash collateral order entered

         in these cases, and (vi) deposit funds in and withdraw funds from all Bank Accounts, subject to

         the same access rights and limitations existing prior to the Petition Date, including, but not

         limited to, checks, wire transfers, automated clearinghouse transfers, electronic funds transfers,

         and other debits and to treat the Bank Accounts for all purposes as debtor in possession accounts

         and (b) granting an interim suspension of the deposit and investment requirements of section

         345(b) of the Bankruptcy Code.


01:23475998.1

                                                           30
                        Case 18-11780-BLS          Doc 2    Filed 08/02/18      Page 31 of 47



                76.     As described in detail in the Cash Management Motion, the Debtors’ business

         requires the collection, payment, and transfer of funds through numerous bank accounts. In the

         ordinary course of business and prior to the Petition Date, the Debtors maintained a centralized

         cash management system (the “Cash Management System”). Like other large businesses, the

         Debtors designed their Cash Management System to efficiently collect, transfer, and disburse

         funds generated through the Debtors’ operations and to accurately record such collections,

         transfers, and disbursements as they are made. The Debtors’ financial personnel manage the

         Cash Management System from the Debtors’ headquarters in Merrimack, New Hampshire. Each

         general category of account is described in the Cash Management Motion and a diagram of the

         Cash Management System is annexed as Exhibit B thereto.

                77.     The relief requested in the Cash Management Motion is vital to ensuring the

         Debtors’ seamless transition into bankruptcy. I believe that the relief requested in the Cash

         Management Motion is in the best interests of the Debtors’ estates, their creditors, and all other

         parties in interest, and will enable the Debtors to continue to operate their businesses in these

         Chapter 11 Cases with minimal disruption, thereby benefiting all parties in interest.

         Accordingly, for the reasons set forth herein and in the Cash Management Motion, on behalf of

         the Debtors, I respectfully submit that the relief requested in the Cash Management Motion

         should be granted.

         D.     The Employee Wage Motion

                78.     In the Employee Wage Motion, the Debtors request entry of an order authorizing,

         but not directing, the Debtors, in their sole discretion, to (a) pay and/or remit, as applicable,

         (i) the Unpaid Wage Obligations, (ii) the Unremitted Withholdings and Deductions, (iii) the

         Unpaid PTO Obligations, (iv) the Unpaid Reimbursable Expense Obligations, (v) the Unpaid

         Employee Benefits Obligations, (vi) the Unpaid Employee Insurance Coverage, (vii) the Unpaid
01:23475998.1

                                                           31
                       Case 18-11780-BLS          Doc 2    Filed 08/02/18     Page 32 of 47



         Workers’ Compensation Claims, and (viii) the Unremitted 401(k) Contributions (together with

         all costs and fees incident to the foregoing, collectively, the “Employee Obligations”) and (b)

         continue to honor and/or collect, as applicable, (i) the Wage Obligations, (ii) the Withholding

         Obligations, (iii) the PTO Program, (iv) the Reimbursement Program, (v) the Health Plans, (vi)

         the Employee Insurance Program, (vi) the Workers’ Compensation Program, (vii) the Unpaid

         Workers’ Compensation Claims, and (viii) the 401(k) Plan (collectively, the “Employee Plans

         and Programs”).

                79.     The Employees and Independent Contractors are the lifeblood of the Debtors’

         business, and their value cannot be overstated. The management, marketing, sales, and technical

         skills of the Employees and Independent Contractors are essential to the Debtors’ ability to

         source and research high-quality, competitive products and services, bring those products and

         services to market in their retail locations and online, and timely deliver them to their customers.

         If the Debtors cannot assure their Employees and Independent Contractors that the Debtors will

         promptly pay Employee Obligations, as applicable, to the extent allowed under the Bankruptcy

         Code, and continue to honor, as applicable, the Employee Plans and Programs, the Debtors

         believe that certain Employees and Independent Contractors will likely seek employment

         elsewhere. The loss of Employees and Independent Contractors at this juncture would have a

         material adverse impact on the Debtors’ businesses and ability to maximize value through the

         administration of these Chapter 11 Cases.

                80.     The relief requested in the Employee Wage Motion is necessary for the Debtors to

         be able to maintain morale, continue to service the needs of their customers, and preserve

         creditor confidence in the Debtors’ continued operations. Moreover, the loss of valuable

         Employees and the recruiting efforts that would be required to replace such Employees would be


01:23475998.1

                                                          32
                        Case 18-11780-BLS          Doc 2    Filed 08/02/18      Page 33 of 47



         a substantial and costly distraction at a time when the Debtors must focus on their restructuring

         efforts. Accordingly, I believe that the Debtors must be able to pursue all reasonable measures to

         retain the Employees by, among other things, continuing to pay the Employee Obligations and to

         honor the Employee Plans and Programs as set forth in the Employee Wage Motion.

                81.     Accordingly, for the reasons set forth herein and expanded on in the Employee

         Wage Motion, on behalf of the Debtors, I respectfully submit that the relief requested in the

         Employee Wage Motion is in the best interests of the Debtors’ estates, their creditors, and all

         other parties in interest, and will enable the Debtors to continue to operate their businesses in

         these Chapter 11 Cases with minimal disruption, thereby maximizing value for the estates.

         E.     The Utilities Motion

                82.     In the Utilities Motion, the Debtors request entry of interim and final orders

         (a) prohibiting the Utility Providers from (i) altering, refusing, or discontinuing utility services

         to, or discriminating against, the Debtors on account of any outstanding amounts for services

         rendered prepetition or (ii) drawing upon any existing security deposit, surety bond, or other

         form of security to secure future payment for utility services, (b) determining that adequate

         assurance of payment for post-petition utility services has been furnished to the Utility Providers

         providing services to the Debtors, and (c) establishing procedures for resolving future requests

         by any Utility Provider for additional adequate assurance of payment.

                83.     In conjunction with their day-to-day operations, the Debtors receive traditional

         utility services from various Utility Providers for, among other things, electricity, water, gas,

         sewer, telecommunications, and other similar services (collectively, the “Utility Services”). A

         non-exhaustive list of the Utility Providers is annexed to the Utilities Motion as Exhibit C

         thereto. The Debtors paid an average of approximately $160,000 per month on account of all

         Utility Services for the period February 2018 through June 2018.
01:23475998.1

                                                           33
                          Case 18-11780-BLS         Doc 2     Filed 08/02/18     Page 34 of 47



                 84.      I believe and am advised that the requested relief is necessary or else the Debtors

         could be forced to address numerous requests by the Utility Providers in a disorganized manner

         during the critical first few weeks of these Chapter 11 Cases. Moreover, a termination of or

         disruption in Utility Services could significantly disrupt the Debtors’ business operations and

         shrink their revenues, thereby jeopardizing the Debtors’ chances to maximize recoveries for

         creditors. It is, therefore, critical that Utility Services continue uninterrupted during the Chapter

         11 Cases.

                 85.      Accordingly, for the reasons set forth herein and in the Utilities Motion, on behalf

         of the Debtors, I respectfully submit that the relief requested in the Utilities Motion is in the best

         interests of the Debtors’ estates, their creditors, and all other parties in interest, and will enable

         the Debtors to continue to operate their businesses during the course of these Chapter 11 Cases

         with minimal disruption.

         F.      The Tax Motion

                 86.      In the Tax Motion, the Debtors seek entry of an order authorizing, but not

         directing, the Debtors, in the exercise of their reasonable business judgment, to pay Taxes (as

         defined below) without regard to whether such obligations accrued or arose before or after the

         Petition Date.

                 87.      In the ordinary course of business, the Debtors (a) incur certain tax liabilities,

         including sales, use, income, trust fund, transfer, franchise, real property, and personal property

         taxes, as well as certain local taxes on gross receipts, business license fees, and other taxes and

         similar obligations (collectively, the “Taxes”) necessary to operate their business and (b) remit

         such Taxes to applicable taxing and other regulatory authorities (collectively, the “Authorities”).

         The Taxes may, from time to time, be the subject of an audit by the applicable Authority, and the

         amounts estimated as due or already paid by the Debtors may be subject to upward or downward
01:23475998.1

                                                            34
                        Case 18-11780-BLS         Doc 2     Filed 08/02/18      Page 35 of 47



         adjustment based upon the amount that the applicable Taxing ultimately claims is due. The

         Debtors regularly pay the Taxes in a timely manner on a monthly, quarterly, or annual basis, in

         each case as required by applicable laws and regulations, and none of the Taxes the Debtors are

         seeking authority to pay pursuant to the Tax Motion are past-due or “catch up” Taxes.

                88.     The Debtors must continue to pay the Taxes to continue operating in certain

         jurisdictions and to avoid costly distractions during these Chapter 11 Cases. Specifically, it is

         my understanding that the Debtors’ failure to pay the Taxes could adversely affect the Debtors’

         business operations and the value of their assets because the Authorities could suspend the

         Debtors’ operations, file liens against the Debtors’ assets, or seek to lift the automatic stay to

         pursue remedies against the Debtors. In addition, certain Authorities may take precipitous action

         against the Debtors’ directors and officers for unpaid Taxes, which undoubtedly would distract

         those key individuals from their duties related to the Debtors’ restructuring efforts during the

         pendency of these Chapter 11 Cases. The Debtors seek authority to pay the Taxes, if any, that

         remain outstanding as of the Petition Date, and future Taxes that accrue in the ordinary course of

         business as and when such obligations become due and owing.

                89.     Accordingly, for the reasons set forth herein and in the Tax Motion, on behalf of

         the Debtors, I respectfully submit that the relief requested in the Tax Motion is in the best

         interest of the Debtors’ estates and creditors because it will enable the Debtors to continue to

         operate their businesses while these Chapter 11 Cases are pending.

         G.     The Insurance Motion

                90.     In the Insurance Motion, the Debtors request entry of an order authorizing, but not

         directing, the Debtors to (a) continue and renew the Insurance Policies (as defined below), or

         obtain new insurance policies, as needed in the ordinary course of business, (b) continue to

         finance the Financed Insurance Policies and enter into new premium finance agreements, as
01:23475998.1

                                                           35
                        Case 18-11780-BLS          Doc 2     Filed 08/02/18      Page 36 of 47



         necessary or appropriate, under substantially similar terms, and (c) honor all of their prepetition

         and postpetition insurance obligations, under and in connection with the Insurance Policies on an

         uninterrupted basis and in the ordinary course of business during the administration of these

         Chapter 11 Cases.

                 91.     As described in the Insurance Motion, in the ordinary course of their businesses,

         the Debtors maintain numerous insurance policies with various Insurers that provide coverage

         for, among other things, U.S. customs bond, loss fund replenishment, auto liability, general

         liability, workers’ compensation liability, business travel accidents, kidnapping and ransom,

         marine cargo, cyber liability, fiduciary liability, umbrella and excess liability, foreign liability,

         property and engineering liability (the “Insurance Policies”), as summarized in Exhibit B

         annexed to the Insurance Motion. The Debtors incur a total of approximately $1.25 million in

         the aggregate in annual premiums to cover their Insurance Policies. The Debtors also retain risk

         with respect to claims under their general liability insurance policy, up to a maximum of

         $350,000 per claim, with no maximum aggregate claims cap during the policy year (the “General

         Liability Claims”). As of the Petition Date, approximately $60,000 is owed in General Liability

         Claims.

                 92.     The Debtors employ AON Risk Services Northeast Inc. as their insurance broker

         (the “Broker”) and provide compensation to the Broker through an annual compensation

         agreement dated December 6, 2017, pursuant to which the Debtors pay the Broker an annual

         service fee of $124,000.

                 93.     Additionally, the Debtors finance the premiums for certain of their Insurance

         Policies pursuant to premium financing agreements with AON Premium Finance, LLC. The

         ability to finance certain Insurance Policies, and avoid paying a lump sum premium for such


01:23475998.1

                                                           36
                        Case 18-11780-BLS           Doc 2     Filed 08/02/18      Page 37 of 47



         Insurance Policies in advance, provides significant benefits to the Debtors’ liquidity position.

         The Debtors incur a total of approximately $1.5 million in the aggregate annually to cover their

         obligations under the Insurance Policies, which includes the annual premiums, the Broker fees,

         self-insured and uninsured losses, the General Liability Claims and the premium finance charges.

                 94.     The Insurance Policies are essential to preserving the value of the Debtors’

         business operations and their assets. In many cases, the insurance coverage provided by the

         Insurance Policies is required by various regulations, laws, and contracts that govern the

         Debtors’ business and commercial activities.

                 95.     Accordingly, for the reasons set forth herein and in the Insurance Motion, on

         behalf of the Debtors, I respectfully submit that the relief requested in the Insurance Motion is in

         the best interests of the Debtors’ estates, their creditors, and all other parties in interest, and will

         enable the Debtors to continue to operate their business in compliance with contractual and

         regulatory requirements and to safeguard the value of their estates.

         H.      The Customer Programs Motion

                 96.     In the Customer Programs Motion, the Debtors request entry of an order

         authorizing the Debtors, in their sole discretion, to, among other things, maintain and administer

         certain Customer Programs (as defined below) and to honor prepetition obligations thereunder in

         the ordinary course of business and in a manner consistent with past practices. The Debtors also

         seek authority for banks and other financial institutions to receive, process, honor, and pay

         checks or electronic transfers used by the Debtors to pay the foregoing and to rely on the

         representations of such Debtors as to which checks are issued and authorized to be paid in

         accordance with the Customer Programs Motion.

                 97.     As described in the Customer Programs Motion, prior to the Petition Date, both in

         the ordinary course of the Debtors’ business and as is customary in the consumer retail industry,
01:23475998.1

                                                            37
                       Case 18-11780-BLS           Doc 2    Filed 08/02/18     Page 38 of 47



         the Debtors offered and engaged in certain customer and other programs and practices

         (collectively, the “Customer Programs”). The Customer Programs include (a) warranties, (b) gift

         cards/certificates, (c) customer loyalty/rewards program, (d) private label credit cards and credit

         card processing, and (e) programs for returns, refunds, and adjustments.

                98.       In order to effectuate a smooth transition into these Chapter 11 Cases, the Debtors

         must maintain customer loyalty and goodwill through the Customer Programs. Indeed, the

         Debtors implemented the Customer Programs in the ordinary course of business prior to the

         Petition Date as a means by which to maintain positive, productive, and profitable relationships

         with their customers, encourage new purchases, enhance customer satisfaction and ensure that

         the Debtors remain competitive in their industry. All of the Customer Programs are designed

         and implemented to encourage the Debtors’ customers to increase their purchasing frequency

         and volume, resulting in larger net revenues for the Debtors and, in return, greater satisfaction for

         the customers.

                99.       The Debtors’ ability to honor their Customer Programs in the ordinary course of

         business is necessary to retain their customer base and reputation within the industry at this

         critical juncture of the restructuring process. The Debtors’ Customer Programs are critical, and

         any delay in honoring the Debtors’ obligations thereunder could severely and irreparably impair

         customer relations. Any failure to honor and pay prepetition obligations under the Customer

         Programs is likely to drive away valuable customers, thereby harming the Debtors’ efforts to

         maximize value and reducing interest in the Debtors’ assets.

                100.      Accordingly, for the reasons set forth herein and in the Customer Programs

         Motion, the Debtors seek authority, but not direction, to continue the Customer Programs,

         including authority to honor the obligations arising therefrom. On behalf of the Debtors, I


01:23475998.1

                                                           38
                        Case 18-11780-BLS         Doc 2       Filed 08/02/18   Page 39 of 47



         respectfully submit that the relief requested in the Customer Programs Motion is essential to the

         Debtors’ continued operations and is in the best interests of the Debtors’ estates, their creditors,

         and all other parties in interest.

         I.      The Shippers Motion

                 101.    In the Shippers Motion, the Debtors seek entry of interim and final orders

         authorizing (a) the Debtors to pay certain customs charges and fees to the broker who processes

         these customs charges, (b) the Debtors to pay certain prepetition claims incurred for shipping

         and/or storing goods as necessary or appropriate to obtain the release of goods in the possession

         of third parties and to satisfy liens regarding amounts owed to such parties, and (c) the banks and

         other financial institutions at which the Debtors hold accounts to receive, process, honor, and pay

         checks or electronic transfers used by the Debtors to pay the foregoing and to rely on the

         representations of the Debtors as to which checks are issued and authorized to be paid.

                 102.    The Debtors depend on the services of numerous shippers, truckers, expediters,

         customs brokers, consolidators, and other carriers (collectively, the “Shippers”) to ensure the

         timely shipping and delivery of merchandise in the ordinary course of the Debtors’ business.

         The Debtors also transact with a number of other third parties that could potentially assert liens

         against the Debtors and their property for amounts the Debtors owe to those third parties (the

         “Lien Claimants,” and together with the Shippers, the “Possessory Claimants”). If the Debtors

         do not pay the claims of the Possessory Claimants, they could assert possessory liens against the

         Debtors’ property and refuse to deliver or release such property to the Debtors until they are

         paid. Such an outcome could cause significant disruptions to the operation of the Debtors’

         businesses that would impede their ability to operate successfully during these Chapter 11 Cases.

         If the Debtors were required to switch to alternative vendors, they would incur significant

         operational disruption and likely increased costs.
01:23475998.1

                                                          39
                       Case 18-11780-BLS          Doc 2    Filed 08/02/18      Page 40 of 47



                103.    The Debtors propose that, as a condition of accepting payment, a Possessory

         Claimant must agree to a set of conditions set forth in the Shippers Motion. If any Possessory

         Claimant accepts payment and, thereafter, does not continue to provide services to the Debtors

         on Customary Trade Terms, then any payment of the Distribution Charges made under the relief

         granted in connection with the Shippers Motion to such Possessory Claimant would be deemed

         an unauthorized postpetition transfer under section 549 of the Bankruptcy Code and, therefore,

         would be avoidable and recoverable by the Debtors in cash upon written request, subject to a

         Possessory Claimant’s right to contest such treatment and request that the Debtors schedule a

         hearing on such matter. Upon any recovery by the Debtors, the Possessory Claimant’s claim

         would be reinstated as a prepetition claim in the amount so recovered, less the Debtors’

         reasonable costs in recovering such amounts.

                104.    Additionally, in the ordinary course of their businesses, the Debtors receive a

         variety of Imported Products from around the world. Timely receipt of the Imported Products is

         critical to the Debtors’ business operations. In connection with the Imported Products, the

         Debtors may be required to pay certain charges, which include customs duties, detention and

         demurrage fees, tariffs, excise taxes, and other similar obligations. If the Debtors do not pay the

         these charges, the flow of Imported Products would likely be interrupted, depriving the Debtors

         of products they need to draw customers to their stores, and in some instances, complete orders

         already placed by their customers. Therefore, payment of these charges is critical to ensure the

         uninterrupted flow of Imported Products.

                105.     Accordingly, for the reasons set forth herein and further detailed in the Shippers

         Motion, on behalf of the Debtors, I respectfully submit that the relief requested in the Shippers

         Motion is in the best interest of the Debtors’ estates and their creditors, and should therefore be


01:23475998.1

                                                          40
                        Case 18-11780-BLS           Doc 2    Filed 08/02/18     Page 41 of 47



         granted to enable the Debtors to retain access to critical sources of goods and avoid devastating

         disruption to their business operations.

         J.     The NOL Motion

                106.    In the NOL Motion, the Debtors request that the Court enter interim and final

         orders (a) establishing notice and objection procedures regarding certain transfers of beneficial

         interests in equity securities in Brookstone Holdings Corp. (“Equity Securities”) and claims of

         worthless stock deductions with respect to the Equity Securities and (b) establishing a record

         date (the “Record Date”) for notice and potential sell-down procedures for trading in claims

         against the Debtors (“Claims”). By the NOL Motion, the Debtors request that any purchase,

         sale, or other disposition of, or claim of worthless stock deduction with respect to, Equity

         Securities in violation of the procedures set forth in the NOL Motion shall be void ab initio.

                107.    The Debtors have incurred significant net operating losses (“NOLs”), in the recent

         past. The Debtors’ NOLs are an extremely valuable asset because, under the Internal Revenue

         Code (the “IRC”), the Debtors can generally carry forward their NOLs to offset their future

         taxable income and thereby reduce their future aggregate tax obligations.

                108.    The Debtors’ NOLs are currently estimated to be $200 million as of the end of tax

         year 2017, plus a preliminarily estimated additional $62.4 million for 2018, which are

         collectively worth significant potential future income tax savings based on the Debtors’ 21%

         federal corporate tax rate.

                109.    These potential tax savings and the accompanying increase in the Debtors’ cash

         flow are valuable assets of the Debtors’ estates. If the Debtors are unable to monitor and object

         to the above-referenced transactions, the Debtors’ future use of their NOLs may be jeopardized.

         The Debtors have proposed notice and hearing procedures that impose minimal burdens on

         affected entities to achieve a substantial benefit to the Debtors’ estates.
01:23475998.1

                                                            41
                        Case 18-11780-BLS           Doc 2     Filed 08/02/18      Page 42 of 47



                 110.    Accordingly, for the reasons set forth herein and in the NOL Motion, on behalf of

         the Debtors, I respectfully submit that the relief requested in the NOL Motion is in the best

         interests of the Debtors’ estates, their creditors, and all other parties in interest because, if

         granted, the relief requested therein will allow the Debtors to avoid unnecessary tax expense.

         K.      The Store Closing Motion

                 111.    In the Store Closing Motion, the Debtors are seeking authority to conduct a store

         closing process at all of their mall locations and its one liquidation center (collectively, the

         “Closing Stores”) in accordance with certain proposed sale guidelines that are attached to the

         motion. In addition, the Debtors are seeking authority to assume a prepetition agreement

         (“Closing Store Agreement”) with the Liquidation Consultant, who will supervise and provide

         advice in connection with the sales at the Closing Stores (the “Closing Sales”), and to implement

         a customary bonus program for certain non-insider personnel with responsibilities related to the

         Closing Stores (the “Bonus Program”).

                 112.    The Debtors, in consultation with their professionals, have determined that the

         Closing Sales represent the best alternative to maximize recoveries to the Debtors’ estates with

         respect to the Closing Stores. The Debtors believe that there are meaningful assets at the Closing

         Stores that will be monetized most efficiently and quickly through an orderly process conducted

         in consultation with an experienced liquidation firm. Further, the Debtors believe that delaying

         the Closing Sales will diminish the recoveries on the store assets.

                 113.    The Debtors also believe that granting the Debtors the discretion to pay sales

         personnel the Closing Bonuses will provide much-needed motivation for key personnel who are

         critical to the success of the Closing Sales. I believe that, absent the Bonus Program, the Debtors

         are likely to lose such key personnel at the Closing Stores at a time when the Debtors have few


01:23475998.1

                                                            42
                        Case 18-11780-BLS           Doc 2     Filed 08/02/18       Page 43 of 47



         resources available to search for new employees, which would unnecessarily delay or frustrate

         the Closing Sales and hamstring the Debtors’ efforts to maximize value.

                 114.    Accordingly, for the reasons set forth herein and in the Store Closing Motion, on

         behalf of the Debtors, I respectfully submit that the relief requested in the Store Closing Motion

         is in the best interests of the Debtors’ estates, their creditors, and all other parties in interest.

         L.      The Cash Collateral/DIP Motion

                 115.    In the Cash Collateral/DIP Motion, the Debtors seek (a) approval, on an interim

          basis, of the DIP Facility in the form of a $15 million Revolving DIP Loan and a $15 million

          Term DIP Loan, (b) authorization to grant certain liens and super-priority administrative

          expense claims to the DIP administrative agent (the “DIP Administrative Agent”), the DIP term

          agent (the “DIP Term Agent”), and the Lenders, (c) authorization to use cash collateral, and

          (d) authorization to grant adequate protection to the agents under the Prepetition ABL Facility.

                 116.    The DIP Facility gives the Debtors appropriate flexibility during the Chapter 11

         Cases. The Debtors need the cash available under the DIP Facility to fund ongoing operating

         expenses as well as to bridge to a sale of the Debtors’ businesses. The Debtors considered

         whether they could operate using only the cash generated from post-petition operations, and

         determined that they could only do so for a very limited period of time. Without the DIP

         Facility, the Debtors would not be able to fund ongoing operating expenses, including payroll, on

         an ongoing basis, and bankruptcy-related expenses during these cases. The Debtors’ ability to

         remain a viable operating entity until the time of its sale depends on obtaining the interim and

         final relief requested in the Cash Collateral/DIP Motion.

                 117.    The DIP Lenders have indicated that the DIP Facility (and the credit agreement

         and ancillary documents governing the facility) set forth the only terms under which they would

         agree to provide the Debtors with financing.
01:23475998.1

                                                             43
                        Case 18-11780-BLS          Doc 2    Filed 08/02/18      Page 44 of 47



                118.    The Debtors negotiated the terms of the DIP Facility at arms’ length and in good

         faith, with all relevant parties represented by counsel. I believe that the negotiated terms are the

         best available under the circumstances.

                In conclusion, for the reasons stated herein and in each First Day Motion, I respectfully

         request that each First Day Motion be granted in its entirety, together with such other and further

         relief as the Court deems just and proper. Pursuant to 28 U.S.C. § 1746, I declare under penalty of

         perjury that the foregoing is true and correct to the best of my knowledge, information, and belief.

         Dated: August 2, 2018                               /s/ Greg Tribou
                                                             Greg Tribou
                                                             Vice President, Chief Financial Officer
                                                             Brookstone Company, Inc.




01:23475998.1

                                                           44
                Case 18-11780-BLS     Doc 2   Filed 08/02/18   Page 45 of 47



                                        EXHIBIT A

                                    Organizational Chart




01:23475998.1
                                        Case 18-11780-BLS              Doc 2       Filed 08/02/18          Page 46 of 47


                                                                          Sanpower Group
                                                                           Co., Ltd. (PRC)
                                                                        100%
                                                                               Sanpower
                                                                              (Hong Kong)
                                                                           Company Limited (HK)
                                                            100%
                                                                          Legit Ocean Limited (BVI)
                                                            100%
                                                                         Sailing Innovation Ltd. (HK)
                                                            100%
                                                            100%         Sailing Innovation Ltd. (UK)


                                                                      Brookstone Holdings Corp.
                                                           100%                 (DE)
                                                                      100%
                                                                           Brookstone, Inc.
                                                                                (DE)
                                                                       100%
                                                                      Brookstone Company, Inc.
                                                                                (NH)
       100%                    100%                            100%                        100%                    100%                          100%
        Brookstone Retail          Brookstone                  Brookstone                 Brookstone Stores,                                     Brookstone Military
         Puerto Rico, Inc.        International              Purchasing, Inc.                    Inc.             Gardeners Eden, Inc.               Sales, Inc.
              (PR)                Holdings, Inc.                  (NH)                          (NH)                     (NH)                           (NH)
                                      (NH)
                  100%            50%                50%                100%                100%
        Brookstone Hong           Advanced Audio             Brookstone Labs            Brookstone Holdings,     100%       Big Blue
      Kong Holdings Limited      Concepts, Limited              Asia, Inc.                      Inc.                       Audio LLC
          (Hong Kong)              (Hong Kong)                    (NH)                         (NH)                           (NH)

                    10%                                                 100%               100%
                                                               Brookstone                      Brookstone
       Brookstone Greater                                                                                                                  Key
         China Holdings                                     Design Studio, Inc.              Properties, Inc.
          (Hong Kong)                                             (NH)                            (NH)                            Debtor
90%
                                                                        100%                                                     Wholly Owned Non-Debtor
                    100%
                                                              Brookstone AR
           Brookstone                                                                                                             Non-Debtor Joint Venture
                                                                Studio, Inc.
       Electronics Co., Ltd.                                       (NH)                                                           Non-Debtor Licensee for Asia
                                                                                                                                  Operations
                                     Case 18-11780-BLS     Doc 2      Filed 08/02/18   Page 47 of 47




                                                       National Concessions
                                                           Management                             Brookstone LAX T-6, LLC
                                                   Brookstone Stores Georgia LLC                        (Store 448)                    75%
                                                                                   49%
                                                            (Store 435)
                                                              Brookstone                             Carry On DTW, LLC
                                                             Charlotte, LLC                              (Store 472)                   74%
                                                              (Store 444)          74%

                    Brookstone Stores,                    AREAS Brookstone
                           Inc.                                                                     Carry On SLC T-2, LLC
                                                            Atlanta JV, LLC                              (Store 452)                   51%
                          (NH)                            (Stores 433 & 441)       49%


                                100%                         Brookstone                           Brookstone IAH T-A, LLC
                                                           Stores DTW, LLC                              (Store 454)                    70%
                                                             (Store 457)           74%
 Big Blue   100%   Brookstone Holdings,
Audio LLC                  Inc.                               Brookstone                          Brookstone IAD T-B, LLC
   (NH)                   (NH)                           Dallas Fort Worth, LLC                         (Store 466)                     75%
                                                              (Store 427)          65%

                                100%                      Brookstone Stores                        Brookstone IAH T-E, LLC
                                                               SAT, LLC                                 (Store 453)                     65%
                                                             (Store 428)           78%
                        Brookstone
                      Properties, Inc.
                           (NH)                      Brookstone O’Hare II, LLC
                                                           (Store 486)             70%
                               70%                                                           Brookstone Holding, Inc. Leased Stores
                                                    Brookstone O’Hare T-5, LLC
                                                                                               Store # 488
                                                           (Store 404)             70%
                   Brookstone O’Hare, LLC
                     (Former store 498 –                                                     Brookstone Company Inc. Leased Stores
                         Now closed)                  National Concessions
                                                  Management Brookstone Stores                 Store # 417, 422, 446, 456
                                                         Georgia II, LLC           64%
                                                           (Store 408)
                                                                                              Brookstone Properties, Inc. Leased Stores

                                                    Brookstone Houston T-B, LLC                Store # 459
                                                            (Store 464)            65%
                                                                                              Brookstone Stores, Inc. Leased Stores

                                                     Brookstone DEN T-B, LLC                   Store # 407, 412, 413, 419, 421, 425 (closed),
                                                           (Store 432)             75%         426, 431 (closed), 437 (closed), 443, 451
                                                                                               (closed), 461, 468, 485, 495
